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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF VIRGINIA
                                 Norfolk Division



 STERLING L. JENNINGS, et al.,

                 Plaintiffs,

 V.                                                 CIVIL ACTION NO. 2:17cv427

 ROUNDPOINT MORTGAGE
 SERVICING CORPORATION, et al..

                 Defendants.


                                        ORDER


         This matter comes before the court on               Defendant RoundPoint

 Mortgage Servicing Corporation's (^"RoundPoint") Motion for Summary

 Judgment (""Motion") and Memorandum in Support, filed on August 31,

 2018. EOF Nos. 42, 43. Plaintiffs, Sterling L. Jennings and Deirdre

 D. Jennings, filed a Memorandum in Opposition on September 12,

 2018, EOF No. 55, and RoundPoint filed a Reply on September 18,

 2018. EOF No. 58. On September 19, 2018, this court referred the

 Motion to United States Magistrate Judge Robert J. Krask, pursuant

 to the provisions of 28 U.S.C. § 636(b)(1)(B) and Federal Rule of

 Civil Procedure 72(b), to conduct hearings, including evidentiary

 hearings, if necessary, and to submit to the undersigned district

 judge         proposed   findings      of     fact,    if      applicable,    and

 recommendations for the disposition of the Motion. ECF No. 62.

         The    Magistrate     Judge   filed    a   Report    and   Recommendation

 (""R&R") on RoundPoint's Motion on October 10, 2018. ECF No. 66.
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 The parties were advised of their right to file written objections

 to the findings and recommendations made by the Magistrate Judge.

 R&R at 18. On October 24, 2018, Plaintiffs filed an Objection to

 the R&R. EOF No. 68. RoundPoint filed a Response on November 6,

 2018. EOF No. 69.


       Pursuant       to   Rule   72(b)      of    the   Federal      Rules    of   Civil

 Procedure, the court, having reviewed the record in its entirety,

 shall make a ^ novo determination of those portions of the R&R to

 which the Plaintiffs have specifically objected.                     Fed. R. Civ. P.

 72(b).     The court may accept, reject, or modify, in whole or in

 part, the recommendation of the magistrate judge, or recommit the

 matter to him with instructions. 28 U.S.C. § 636(b)(1).

       The R&R recommends that RoundPoint's Motion should be granted

 because,    as   a    matter     of    law,      RoundPoint    did   not     improperly

 foreclose on Plaintiffs' home. R&R at 2.                  The R&R concludes that


 RoundPoint was not required to conduct a face-to-face meeting with

 Plaintiffs prior to foreclosing on their home, id. at 13, and

 further concludes that Plaintiffs did not submit a complete loss

 mitigation application to RoundPoint in time to trigger legal

 protection from foreclosure proceedings, id. at 16.

       In   their     Objection        to   the   R&R,   Plaintiffs     contend     that

 RoundPoint was required to conduct a face-to-face meeting with

 Plaintiffs   because      RoundPoint said that it             would conduct such      a


 meeting. Obj. at 3. Plaintiffs further argue that, because they
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 submitted     documents    to     RoundPoint     to   complete      their    loss

 mitigation application on April 18, 2017, their application should

 be considered retroactively complete as of February 2, 2017. Id.

 at 5.


       The court, having examined the Objection to the R&R filed by

 the Plaintiffs, and having made ^ novo findings with respect

 thereto, agrees with the Magistrate Judge's recommendation that

 RoundPoint's Motion for Summary Judgment be granted. Accordingly,

 Plaintiffs'    Objection     is    hereby      OVERRULED,    and     the    court

 ADOPTS AND APPROVES IN FULL the findings and recommendations set

 forth in the R&R of the United States Magistrate Judge, filed on

 October 10,    2018.   EOF No.     66.   RoundPoint's   Motion      for    Summary

 Judgment is GRANTED.

       The Clerk is DIRECTED to send a copy of this Order to counsel

 for all parties.

       IT IS SO ORDERED.                                       Isl
                                                       Rebecca Beach Smith
                                                            Chief Judge
                                              REBECCA BEACH SMITH
                                                   CHIEF JUDGE




 November
             13, 2018
